       Case 1:25-cv-00916-JDB          Document 143        Filed 06/02/25      Page 1 of 3




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 JENNER & BLOCK LLP,

         Plaintiff,
            v.                                              Civil Action No. 25-916 (JDB)
 U.S. DEPARTMENT OF JUSTICE, et al.,

         Defendants.



                                             ORDER

       Just over one week ago, this Court determined that Executive Order 14246 was an act of

retaliation against Jenner & Block, that it violated the First Amendment, and that “its operation

must be enjoined in full.” See Jenner & Block LLP v. U.S. Dep’t of Just., Civ. A. No. 25-916

(JDB), 2025 WL 1482021, at *25 (D.D.C. May 23, 2025). The Court stopped just short, however,

of giving Jenner everything it asked for. The Court noted that Jenner’s proposed order would have

had the Court permanently enjoin federal officials not only from taking the actions the executive

order directed but also “from using or considering in any way or for any purpose the statements

laid out in Section 1” of the executive order. Id. The Court viewed such a sweeping injunction

against future actions inspired by the President’s statements as inappropriate because any such

actions are, at this point, “purely conjectural or hypothetical”: “agencies have not been instructed

to take them.” Id. (internal quotation marks omitted). So the resulting Order permanently enjoined

federal officials “from implementing or enforcing Sections 2–5”—the executive order’s operative

sections. Order [ECF No. 139] § 1. It did not specifically enjoin Section 1.

       But that modest limitation on the scope of the injunction did not mean that Section 1 was

altogether beyond the Court’s power to touch. To the contrary, the Court recognized that Section


                                                 1
        Case 1:25-cv-00916-JDB                Document 143            Filed 06/02/25         Page 2 of 3




1 “played an essential role” in the executive order as issued, as it “both supplied a rationale for

Sections 2 through 5 and answered any questions those operative sections purported to leave

open.” Jenner, 2025 WL 1482021, at *24. And any reliance on Section 1 in implementing the

executive order, the Court concluded, would thus contravene the First Amendment just as surely

as actions taken under the operative sections would. Accordingly, the Court’s Order referenced

Section 1 several times, each time making clear that any actions already taken pursuant to Section

1 must be undone. Any such actions, after all, were neither conjectural nor hypothetical; they had

already occurred or been directed.

         For instance, the Court ordered security clearance reviews and suspensions “made pursuant

to Sections 1 or 2(a)” stopped and reversed. Order § 5. 1 And—in the now-controversial portion

of the Order—it ordered certain defendants to direct entities subject to the executive order to

“rescind any implementation or enforcement of Executive Order 14246, including any use,

consideration, or reliance on the statements in Section 1.” Id. § 9(a).

         The defendants now move for clarification of this last-mentioned portion of the Order. See

Defs.’ Mot. to Clarify [ECF No. 141]. They view it as inconsistent with the Court’s decision not

to permanently enjoin all consideration of Section 1, and ask the Court to clarify that the

forthcoming direction need only instruct federal entities to “rescind any implementation or

enforcement of Sections 2–5”—but not Section 1. Id. at 2.

         The Court declines to do so. The relevant portion of the Court’s Order requires the

rescission of past uses of Section 1; that is what “rescind” means, after all. This instruction does

not suffer from the lack-of-imminence problem that caused the Court to refrain from enjoining

future “consider[ation]” of the statements in Section 1 “for any purpose.” Jenner, 2025 WL


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           The defendants do not challenge or seek clarification as to this portion of the Order, and the Court trusts
that they understand their obligations under it.

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       Case 1:25-cv-00916-JDB           Document 143         Filed 06/02/25       Page 3 of 3




1482021, at *25 (internal quotation marks omitted). So the Court meant what it said: the direction

contemplated in Section 9 of the Order must instruct entities subject to the executive order to

“rescind any implementation or enforcement of Executive Order 14246, including any use,

consideration, or reliance on the statements in Section 1.” Order § 9(a).

       The defendants also seek one other type of clarification, this one uncontroversial. They

fear that the Court’s Order could be taken to enjoin Equal Employment Opportunity Commission

investigations of other “industry leading law firms,” and ask for clarification that the Order’s relief

runs to Jenner alone. See Mot. at 3–4. Jenner does not object to this clarification, see Jenner’s

Resp. to Mot. [ECF No. 142] at 1, and the Court hereby issues it. The Court intended to enjoin

Section 4 of the executive order only insofar as it targeted Jenner; to the extent the initial Order

was unclear on that point, the Court now clarifies that “the injunctive relief as to Section 4 of

Executive Order 14246 in the Court’s Order of May 23, 2025 [ECF No. 139] runs only in favor of

the Plaintiff, Jenner & Block LLP (including its affiliates, predecessors, successors, assigns,

directors, officers, partners, employees, and agents).” Mot. at 4.

       For the above reasons, the defendants’ motion to clarify [ECF No. 141] is DENIED insofar

as it seeks clarification or amendment of the Order’s impact on Section 1 of Executive Order 14246

and GRANTED insofar as it seeks clarification of the Order’s impact on Section 4 of Executive

Order 14246. SO ORDERED.

                                                                            /s/
                                                                     JOHN D. BATES
                                                                 United States District Judge
Dated: June 2, 2025




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